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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

RAYMOND GONZALEZ, on behalf of himself
and all others similarly situated,
                                                            Case No. 1:20-cv-03791-JMF
                       Plaintiffs,                          NOTICE OF VOLUNTARY
                                                                   DISMISSAL
               -against-                                     WITHOUT PREJUDICE

ISLE OF PARADISE LLC.,
               Defendant.



         PLEASE TAKE NOTICE, that the above-entitled action against all Defendants shall be

and hereby is dismissed pursuant to F.R.C.P. Rule 41(a)(1)(A)(i) without prejudice; without

costs, or disbursements, or attorneys’ fees to any party.


Dated:     Queens, New York
           August 27, 2020


                                                      Respectfully submitted,

                                                      By: /s/ Mars Khaimov
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